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     Attorney for Defendant
 5   DAVID PEREZ RAMIREZ

 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               )        2:07-CR-00248-15 WBS
11                                           )
                                Plaintiff,   )
12                                           )        STIPULATION AND [PROPOSED]
     v.                                      )        ORDER TO MODIFY BRIEFING
13                                           )        SCHEDULE
                                             )
14   DAVID PEREZ RAMIREZ,                    )
                                             )
15                           Defendant.      )
     __________________________________      )
16
           On November 10, 2016, Mr. Ramirez filed his amended motion to reduce
17
     sentence pursuant to 18 U.S.C. § 3582(c)(2).           CR 1458.   The government filed
18
     its opposition on December 1, 2016.         CR 1471.    Pursuant to this Court’s order
19
     signed on December 9, 2016, the date due for the reply brief was moved to
20
     January 20, 2017.   CR 1480.
21
           Ms. Radekin intends to file a reply; however, she has ordered and is
22
     still waiting for disciplinary records to investigate the disciplinary
23
     violation to which the government refers, and argues is a ground for denial
24
     of a reduction, in its opposition.
25
           On December 30, 2016, Ms. Radekin received a signed release authorizing
26
     release of the records pertaining to the disciplinary violations from Mr.
27
     Ramirez in the mail.     That same day, a copy of the release was provided to
28



             STIPULATION AND [PROPOSED] ORDER TO MODIFY REPLY BRIEF DUE DATE - 1
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 1   Daniel Wildes, a counselor at FCI Mendota.       Since then, Ms. Radekin’s office

 2   has emailed Counselor Wildes two additional times to inquire into the status

 3   of the request for records.     On January 19, 2017, Counselor Wildes notified

 4   Ms. Radekin that he still does not have authority to release the records.

 5   Thus, Ms. Radekin is still waiting for the records.

 6            Accordingly, the parties stipulate and request that the date due for

 7   the reply brief be modified to February 21, 2017.       Assistant United States

 8   Attorney Jason Hitt has indicated he has no objection to the modification of

 9   the reply brief due date and has authorized Ms. Radekin to sign this

10   stipulation on his behalf.

11   IT IS SO STIPULATED.

12   Dated: January 19, 2017                        PHILLIP A. TALBERT
                                                    Acting United States Attorney
13
                                            By:     /s/ Jason Hitt
14                                                  JASON HITT
                                                    Assistant United States
15

16   Dated: January 19, 2017                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
17                                                  Attorney for Defendant
                                                    DAVID PEREZ RAMIREZ
18

19

20                                          ORDER

21            Pursuant to the parties’ stipulation, and good cause appearing, it is

22   hereby ordered that the reply brief due date be modified to February 21,

23   2017.

24   Dated:    January 23, 2017

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                STIPULATION AND [PROPOSED] ORDER TO MODIFY REPLY BRIEF DUE DATE - 2
